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             EXHIBIT 17
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 1                                                                               1              Videotaped Deposition of Christopher Karpenko
 2                     IN THE UNITED STATES DISTRICT COURT                       2              held at:
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                                 3
 3                              ALEXANDRIA DIVISION
 4              _____________________                                            4
 5              UNITED STATES,              )1:23-cv-00108-LMB-JFA               5
                et al.,                     )
                                                                                 6                  Paul, Weiss, Rifkind, Wharton & Garrison, LLP
 6                                          )
                                                                                 7                               2001 K Street, N.W.
                    Plaintiffs,             )
 7                                          )                                    8                                 Washington, D.C.
                vs.                         )                                    9
 8                                          )
                                                                                10
                GOOGLE LLC,                 )
 9                                          )                                   11

                    Defendants.             )                                   12
10              _____________________)                                          13
11
                                                                                14
12
                            - HIGHLY CONFIDENTIAL -                             15
13                                                                              16
14                          VIDEOTAPED DEPOSITION OF
                                                                                17
15                             CHRISTOPHER KARPENKO
                                                                                18              Pursuant to Notice, when were present on behalf
16                                  August 10, 2023
17                                       9:35 a.m.                              19              of the respective parties:
18                                                                              20
19
                                                                                21
20
21                                                                              22
22              Reported by:    Bonnie L. Russo
                Job No. 6031969

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 1              APPEARANCES:                                                     1              APPEARANCES (CONTINUED):

 2                                                                               2

 3              On behalf of the Plaintiffs:                                     3

 4                  JAMES RYAN, ESQUIRE                                          4              Also Present:

 5                  DAVID GROSSMAN, ESQUIRE                                      5              Glen Fortner, Videographer

 6                  ALVIN CHU, ESQUIRE                                           6              Michael Weaver, United States Postal Service

 7                  UNITED STATES DEPARTMENT OF JUSTICE                          7

 8                  450 5th Street, N.W.                                         8

 9                  Washington, D.C. 20530                                       9              Also Present Via Remotely:

10                  james.a.ryan@usdoj.gov                                      10              Julia Wood, DOJ

11                  david.grossman@usdoj.gov                                    11              Sean Carman, DOJ

12                  alvin.chu@usdoj.gov                                         12              Katherine Clemens, DOJ

13                                                                              13              Jeannie S. Rhee, Paul, Weiss, Rifkind, Wharton

14              On behalf of the Defendant:                                     14              & Garrison, LLP

15                  MARTHA L. GOODMAN, ESQUIRE                                  15

16                  ANNELISE CORRIVEAU, ESQUIRE                                 16

17                  PAUL, WEISS, RIFKIND, WHARTON &                             17

18                  GARRISON, LLP                                               18

19                  2001 K Street, N.W.                                         19

20                  Washington, D.C. 20006                                      20

21                  mgoodman@paulweiss.com                                      21

22                  acorriveau@paulweiss.com                                    22




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 1              January of 2023 regarding ad spend?                               1              object.    That's calling for privileged -- it's

 2                  A.     That may be difficult for me to                        2              calling for privileged communication.            I would

 3              answer because the UM team is about media and                     3              --

 4              ad spend and it could encompass almost anything                   4                          MS. GOODMAN:       It is precisely the

 5              tied to our advertising efforts.                                  5              same kind of testimony you've already permitted

 6                  Q.     Is it a normal part of your daily                      6              him to provide.     I am not asking for an

 7              work -- is it a routine part in your work to                      7              instance --

 8              have a one-on-one conversation with Ms. Catucci                   8                          MR. RYAN:     Well, that was a mistake

 9              about ad spend?                                                   9              on my part.

10                  A.     It would not be an exception.                         10                          MS. GOODMAN:       -- I am asking a

11                  Q.     Okay.    And subsequent to January of                 11              yes-or-no question, which is whether he has

12              2023, have you requested information from                        12              asked -- and I'll restate my question.

13              United -- Universal McCann based on a                            13                          BY MS. GOODMAN:

14              conversation with your counsel?                                  14                   Q.     Mr. Karpenko, after January of 2023,

15                  A.     I'm not sure -- I'm not sure about                    15              have you requested information from Universal

16              the question.    Could you help me.                              16              McCann as a result of a conversation with your

17                  Q.     Yeah.    After the complaint in this                  17              counsel?

18              case was filed in January of 2023, have you                      18                   A.     I would say I have requested and

19              made requests to Universal McCann for                            19              received various information from Universal

20              information in order to participate in this                      20              McCann both tied to privilege and not tied to

21              lawsuit?                                                         21              privilege.

22                         MR. RYAN:      Counsel, I'm going to                  22                          MS. GOODMAN:       We're going to move to




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 1              compel on those communications too.                               1                          THE WITNESS:       In my role I have a

 2                         BY MS. GOODMAN:                                        2              responsibility for hundreds of millions of

 3                  Q.     Prior to January of 2023 in the                        3              dollars of budget, so I am always keeping top

 4              course of your work at the United States Postal                   4              of mind that we're spending our investments or

 5              Service, did you ever develop any concerns that                   5              our moneys appropriately and getting the best

 6              Google was engaging in anticompetitive conduct?                   6              value for that.

 7                  A.     I was unaware of any anticompetitive                   7                          So from a macro perspective, we're

 8              conduct from Google.                                              8              always looking at trying to get the best value.

 9                  Q.     And in the course of your work as a                    9                          BY MS. GOODMAN:

10              -- the executive director for brand marketing                    10                   Q.     I appreciate that answer.          And my

11              at the postal service, did you ever develop any                  11              question is a bit more specific.

12              concerns that you paid super-competitive prices                  12                          Understanding that context that

13              for Google products?                                             13              you're always trying to get the best value for

14                  A.     Can you clarify the -- the question.                  14              USPS ad spend, my question is:             Did you ever

15                  Q.     Yeah.    In the course of your work as                15              develop any concerns in the course of your work

16              executive director for brand marketing and                       16              as executive director for brand marketing that

17              participating as an advertiser in the                            17              the postal service was paying too much money

18              advertising space, did you ever develop any                      18              for products or services offered by Google?

19              concerns that the postal service was paying too                  19                   A.     So --

20              much money for products or services from                         20                          MR. RYAN:     Object to form.

21              Google?                                                          21                          THE WITNESS:       So whether it's Google

22                         MR. RYAN:      Object to the form.                    22              or another entity, we -- we have a fixed budget




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 1                  Q.      And any other -- did he provide you                    1              witness based on what we view as improper

 2              -- other than putting all of his information on                    2              assertions of privilege.

 3              a share drive, did he provide you with any                         3                         So I'll hold the deposition open for

 4              other information in connection with this                          4              the record and I will pass the witness.

 5              lawsuit?                                                           5                         MR. RYAN:      Any questions?      I would

 6                          MR. RYAN:     Just to the extent that                  6              like to just note at this point, we would like

 7              it doesn't communicate -- this was not -- did                      7              -- it might be automatic, but just for the

 8              not involve communications with counsel.                           8              record, I just want to note that we want to

 9                          THE WITNESS:       Nothing more that I'm               9              designate the entire transcript -- treat it --

10              aware of.                                                         10              have it treated as highly confidential for the

11                          BY MS. GOODMAN:                                       11              time allotted in the protective order, to allow

12                  Q.      Than putting the information on a                     12              portions of the transcript to be -- the proper

13              share drive before he left; is that accurate?                     13              portions to be designated and any exhibits that

14                  A.      I don't recall him specifically                       14              are highly confidential.

15              giving me any additional information, other                       15                         MS. GOODMAN:        Okay.

16              than making sure that he had his information                      16                         MR. RYAN:      No questions for the

17              put onto a drive.                                                 17              witness.

18                  Q.      Got it.                                               18                         MS. GOODMAN:        Thank you,

19                          MS. GOODMAN:       I have no further                  19              Mr. Karpenko.

20              questions for you at this time, Mr. Karpenko.                     20                         THE WITNESS:        Thank you.

21              I will reserve the remainder of my time for the                   21                         THE VIDEOGRAPHER:           This marks the

22              questions that I was not permitted to ask the                     22              end of the deposition of Mr. Karpenko.           Going




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 1              off the record at 19:05.                                           1                         CERTIFICATE OF NOTARY PUBLIC

 2                          (Whereupon, the proceeding was                         2                      I, Bonnie L. Russo, the officer before

 3              concluded at 7:05 p.m.)                                            3              whom the foregoing deposition was taken, do

 4                                                                                 4              hereby certify that the witness whose testimony

 5                                                                                 5              appears in the foregoing deposition was duly

 6                                                                                 6              sworn by me; that the testimony of said witness

 7                                                                                 7              was taken by me in shorthand and thereafter

 8                                                                                 8              reduced to computerized transcription under my

 9                                                                                 9              direction; that said deposition is a true

10                                                                                10              record of the testimony given by said witness;

11                                                                                11              that I am neither counsel for, related to, nor

12                                                                                12              employed by any of the parties to the action in

13                                                                                13              which this deposition was taken; and further,

                                                                                  14              that I am not a relative or employee of any
14
                                                                                  15              attorney or counsel employed by the parties
15
                                                                                  16              hereto, nor financially or otherwise interested
16
                                                                                  17              in the outcome of the action.
17
                                                                                  18
18
                                                                                  19
19
                                                                                                                  <%11937,Signature%>
20
                                                                                  20                                Notary Public in and for
21
                                                                                  21                                  the District of Columbia
22
                                                                                  22              My Commission expires:         August 14, 2025



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